
USCA1 Opinion

	





                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ____________________          No. 94-1699                               LYDIA LIBERTAD, ET AL.,                               Plaintiffs - Appellants,                                          v.                            FATHER PATRICK WELCH, ET AL.,                               Defendants - Appellees.                                 ____________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                           FOR THE DISTRICT OF PUERTO RICO                    [Hon. H ctor M. Laffitte, U.S. District Judge]
                                              ___________________                                 ____________________                                        Before                               Torruella, Chief Judge,
                                          ___________                           Campbell, Senior Circuit Judge,
                                     ____________________                              and Boudin, Circuit Judge.
                                          _____________                                _____________________               Catherine  Albisa, with whom Judith Berkan  was on brief for
               _________________            _____________          appellants.               Mathew  D. Staver, with whom  Frederick H. Nelson and Nicole
               _________________             ___________________     ______          M.  Arfaras,  were  on  brief for  appellees  Ed  Martin,  Donald
          ___________          Treshman and Rescue America.               Miguel  A. Gim nez-Mu oz  and  Cordero, Miranda  &amp; Pinto  on
               ________________________       _________________________          brief for appellees Father Patrick Welch and Norman Weslin.                                 ____________________                                    April 28, 1995                                 ____________________



                    TORRUELLA,  Chief Judge.   A  group of  individuals and
                    TORRUELLA,  Chief Judge.
                                ___________          organizations  representing women  who have  sought or  will seek          family planning services  in Puerto  Rico ("Appellants")  brought          this  action  against   certain  individuals  and   organizations          ("Appellees")  who oppose  abortion and  coordinate anti-abortion          demonstrations  at women's  health clinics  in Puerto Rico.   The          Appellants  appeal from  the  district court's  grant of  summary          judgment disposing of  their claims brought under     1962(c) and          (d) of  the Racketeer  Influenced and Corrupt  Organizations Act,          ("RICO"), 18 U.S.C.    1961  et seq. (1984),  and the  "hindrance
                                       __ ____          clause"  of 42  U.S.C.    1985(3) (1981).1   In  granting summary          judgment for  Appellees,  the  district  court ruled:    1)  that          Appellants'  claims  brought under      1962(c) and  (d)  of RICO          failed because Appellants did not show either the existence of an          enterprise  or a  pattern of  racketeering activity; and  2) that          Appellants' claims  brought under  the "hindrance clause"  of the          "Ku   Klux  Klan  Act,"  42  U.S.C.     1985(3),  failed  because          Appellants did not show "that the purpose of [Appellees'] alleged          conspiracy was to prevent or hinder law enforcement officers from          giving or securing to women their right to seek abortions."   For          the following reasons, we affirm in part and reverse in part.                                    I.  BACKGROUND
                                    I.  BACKGROUND                    A.  The Parties
                    A.  The Parties
                        ___________                              
          ____________________          1  Appellants also  brought several pendant state law  claims for          negligence,  nuisance,   and  illegal   use  of   amplifiers  and          loudspeakers,   which  the   district  court   dismissed  without          prejudice.  Those claims are not before us.                                         -2-



                    Appellants  initiated this  action on  behalf of  women          seeking  reproductive  health  services  and  their  health  care          providers.   Among the named  plaintiffs are two  women using the          pseudonyms "Lydia  Libertad"  and "Emilia  Emancipaci n."    Both          Libertad  and Emancipaci n  are  Puerto Rico  residents and  have          sought  reproductive  health services  on  the  island.   Another          plaintiff,  Rosa  C ceres, is  the  Clinic  Administrator at  the          Women's Metropolitan Clinic ("WMC")  in R o Piedras, Puerto Rico,          which provides a range  of reproductive health services including          abortion.   WMC is owned  in turn by  plaintiff Oficinas M dicas.          Plaintiff Mary  Rivera is the  Clinic Supervisor and  Director of          Counselling at  the Cl nica Gineco-Quir rgica,  ("Cl nica") which          also  provides reproductive  health services  including abortion.          Plaintiffs Ana E. Gonz lez-D vila  ("Gonz lez") and Dr. Rafael E.          Castro-De Jes s  ("Castro") are, respectively,  the administrator          and  the  medical director  of  plaintiff  Ladies Medical  Center          ("LMC"),   which  also  provides   reproductive  health  services          including  abortion.   The Grupo  Pro Derechos  Reproductivos, an          abortion rights organization, is also a plaintiff.                    Defendant Father Patrick Welch is the head of the anti-          abortion rights  organization Pro-Life Rescue Team ("PLRT"), also          a named defendant.   Defendants Donald  Treshman and Reverend  Ed          Martin are, respectively, the National Director and the Executive          Director of defendant Rescue America,  a nationwide anti-abortion          rights  group based in Houston.   Defendant Norman  Weslin is the          director  of   the  defendant  anti-abortion   rights  group  the                                         -3-



          Sacrificial Lambs of Christ ("SLC").  Defendant Carlos S nchez is          a member of the anti-abortion rights group Pro-Vida.                    B.  Events Leading to this Action
                    B.  Events Leading to this Action
                        _____________________________                    We  present the facts here  in the light most favorable          to the Appellants.  See Maldonado-Denis v. Castillo-Rodr guez, 23
                              ___ _______________    __________________          F.3d  576, 581 (1st Cir.  1994) (when reviewing  grant of summary          judgment,  record   is  examined  in  light   most  favorable  to          nonmovant).    Some  or  all  of  the  Appellees  staged  protest          demonstrations,  which  they  refer   to  as  "rescues,"  at  the          plaintiff  clinics  on  five  occasions:    September  26,  1992,          September  28, 1992,  December 17,  1992, December 24,  1992, and          January  8, 1993.  During  each of  the five  protests, Appellees          blockaded the clinics so that clinic personnel and patients could          not  enter.  Each  blockade was carried out  in a similar manner.          Typically,  the protests  began before  the clinics  opened, with          Appellees  blocking  access to  the clinics  and parking  lots by          physically obstructing the entrances, linking  their arms tightly          together and refusing  to allow anyone to  pass through. Outside,          the  protesters  shouted  slogans  through  megaphones  to clinic          personnel and patients, told patients that they were "murderers,"          screamed  insults   at  clinic   personnel,  and  videotaped   or          photographed  people as  they attempted  to enter  and  leave the          clinics.   The  protesters also  defaced the  clinic property  by          affixing  difficult-to-remove stickers  depicting fetuses  on the          walls  and  entrances, and  by scrawling  graffiti on  the clinic          walls.  During  these blockades, litter was strewn  around clinic                                         -4-



          property  and on  the properties of  surrounding businesses.   In          addition to effectively shutting down the clinics for all or part          of a  day, these protests  caused extensive  and costly  property          damage to the clinics.                    Appellee  Welch  and some  of  the  minor children  who          protest  with him  have  on  occasion  entered  the  clinics  and          intimidated or harassed  patients and  staff.   On September  26,          1992,  Welch invaded the  LMC and pushed  plaintiff Gonz lez from          the clinic  entrance all the way through  the waiting room to the          back  office, trapping  her there  for  a number  of  hours.   On          September 28, 1992,  Welch and a  young girl  entered one of  the          clinics and remained in  the waiting room, despite being  told to          leave by clinic  staff.  Patients  with appointments would  enter          and  then leave when they  recognized Welch in  the waiting room.          Eventually, the police had to come and remove Welch and the young          girl.                    The record indicates that of the five protests at issue          in this  case, the  January 8,  1993 protest is  the only  one at          which all of  the Appellees,  not just Welch  and his  followers,          participated.     The   tactics  employed   on  January   8  were          considerably more aggressive.  In addition to the above-mentioned          blockade methods, Appellees also blocked clinic access by parking          buses in front of clinic entrances and then refusing to move them          when instructed to do so by the police.  Appellees chain-locked a          clinic entrance and then covered the lock with tape to prevent it          from being pried  open.   One clinic supporter  received a  death                                         -5-



          threat  from  a  protester.   The  clinic  suffered  considerable          property damage as well;  locks were filled with glue or gum, and          gates were broken or otherwise damaged to prevent entry.                    When  the  police  attempted  to  arrest protesters  on          January 8, many  protesters climbed  under the motor  vehicles to          avoid arrest.   Demonstrators also used other delay tactics, such          as  going limp  when police arrested  them, or lying  down on the          ground and locking arms, thus making it nearly impossible for the          officers to  physically remove  them from  the clinic  property.           The  evidence  also  indicates  that   some  protesters  actively          resisted arrest by assaulting officers, or by flailing their arms          to make the officer's task more difficult and time-consuming.  At          one blockade, protesters  poured acid  in a police  van in  which          several arrestees were held, necessitating that they be taken out          of the van and further delaying the police.                      The  blockades  demand   that  local  law   enforcement          officials  expend a  significant  amount of  time and  resources;          between forty-five  and sixty  officers are usually  deployed for          each protest.  Law enforcement officials testified that they  are          overwhelmed  by the protesters' tactics,  that they are unable to          either  deter the blockades or  keep the clinics  open during the          blockades.                     Some Appellees explained during  depositions and at the          hearing that one reason  for these tactics is  to "buy time"  for          the "unborn" -- i.e., to delay  their arrests, thereby prolonging
                          ____          the  blockade of the clinic and delaying or preventing the clinic                                         -6-



          from  resuming  its  business, particularly  the  performance  of          abortions.                     C.  Procedural History
                    C.  Procedural History
                        __________________                    On January 8, 1993, Appellants filed the instant action          seeking a temporary restraining order, a preliminary  injunction,          and   a  permanent  injunction  enjoining  Appellees  from  using          unlawful   force,   harassment,   intimidation,    and   physical          obstruction  during  their  protests  in  front  of  Puerto  Rico          clinics.   The district court  denied the motion  for a temporary          restraining  order, but held a hearing from February 4-9, 1993 on          Appellants'  request for a  preliminary injunction,  during which          extensive testimonial  and documentary evidence  was presented by          both parties.                    On  February 9,  1993, during  the  hearing, Appellees'          counsel moved for dismissal of the complaint as to defendants SLC          and  Rescue  America  on  the  grounds of  defective  service  of          process.2  The court  examined the record and found  that service          on these defendants  was defective because the  summons failed to          state the name of the person served.  The court attempted to have          the U.S. Marshal who had served the summons called into  court to          testify, but the Marshal was unavailable.  The court did not rule          at  that  time on  the defective  service  of process  issue, but          advised Appellants' counsel to "inquire"  about the problem.   At                              
          ____________________          2   Significantly, counsel for SLC and Rescue America was present          at the hearing, as well as all other court proceedings,  and made          a general appearance in  the case, rather than a  special limited          appearance to contest proper service.                                         -7-



          the hearing's  close, the  court  ordered the  parties to  submit          post-hearing briefs.                    On  November 1,  1993,  the district  court denied  the          preliminary   injunction,  ruling   that   Appellants   had   not          demonstrated a reasonable likelihood of success on  the merits of          their  complaint, and  that there  existed no genuine  dispute of          material facts.   The court converted  the Appellees' motions  to          dismiss into  motions for  summary judgment pursuant  to Fed.  R.          Civ. P. 12(c), and  ordered Appellants to show cause  why summary          judgment  should not  be entered.   Accordingly, on  December 30,          1993,  Appellants  filed  their  opposition  to summary  judgment          accompanied by a statement alleging disputed material facts.                    In March  of 1994,  responding to perceived  threats by          Appellees  to  begin another  round  of  blockades and  protests,          Appellants filed  a motion renewing their  request for injunctive          relief.   On  May 3,  1994, the  court denied  this request,  and          granted summary judgment in  Appellees' favor.  Specifically, the          court held  1) that Appellants'  claims brought under     1962(c)          and (d) of RICO failed because Appellants did not show either the          existence of an enterprise or a pattern of racketeering activity;          and  2)  that Appellants'  claims  brought  under the  "hindrance          clause"  of 42 U.S.C.   1985(3) failed because Appellants did not          show "that the purpose of [Appellees'] alleged  conspiracy was to          prevent  or  hinder  law  enforcement  officers  from  giving  or          securing  to women their  right to seek abortions."   In the same          order,  the court dismissed the claims against Rescue America and                                         -8-



          SLC on the grounds of defective service of process.                              II.  PRELIMINARY DISCUSSION
                             II.  PRELIMINARY DISCUSSION                    A.  Standard of Review
                    A.  Standard of Review
                        __________________                    Summary  judgment  is  appropriate  when  "there is  no          genuine issue as to any  material fact and . . . the moving party          is  entitled to a judgment as a matter  of law."  Fed. R. Civ. P.          56(c).   We review a grant of summary judgment de novo, examining
                                                         __ ____          the  entire record in the  light most favorable  to the nonmovant          and indulging  all reasonable  inferences in that  party's favor.          Maldonado-Denis, 23  F.3d at  581 (citations omitted);  Pagano v.
          _______________                                         ______          Frank, 983 F.2d 343, 348 (1st Cir. 1993).  
          _____                    The movant must aver an "absence of evidence to support          the  nonmoving  party's case."   The  burden  then shifts  to the          nonmovant, the party opposing  summary judgment, to establish the          existence  of at least one fact issue which is both "genuine" and          "material."  Maldonado-Denis, 23 F.3d at  581 (quoting Garside v.
                       _______________                           _______          Osco Drug, Inc., 895 F.2d 46, 48 (1st Cir. 1990) (other citations
          _______________          omitted)).    A  "genuine" issue  is  one  that  properly can  be          resolved only  by a finder of  fact because it may  reasonably be          resolved  in  favor of  either party.   Id.    In other  words, a
                                                  __          genuine issue exists "if there is 'sufficient evidence supporting          the claimed  factual dispute'  to require  a choice between  'the          parties'  differing  versions  of  the  truth  at trial.'"    Id.
                                                                        __          (quoting Garside, 895  F.2d at  48).  A  "material" issue is  one
                                                                    
                   _______          that might affect  the outcome  of the suit  under the  governing          law.  Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).
                ________    ___________________                                         -9-



                    The  nonmovant  may  not defeat  a  properly  supported          motion for summary  judgment by relying upon  mere allegations or          evidence  that is less than significantly probative.  Id. at 249-
                                                                __          50.    Rather, the  nonmovant  must  present definite,  competent          evidence to rebut the motion.  Maldonado-Denis, 23 F.3d at 581.
                                         _______________                    B.  Standing
                    B.  Standing
                        ________                    During oral argument, Appellees' counsel raised for the          first  time in  this case  the issue  of Appellants'  standing to          bring  their  claims.    Because  standing  is  a  jurisdictional          requirement  which  remains  open  to review  at  all  stages  of          litigation, National Org. for Women v. Scheidler, __ U.S. __, 114
                      _______________________    _________          S.  Ct. 798,  802  (1994),  we  ordered  the  parties  to  submit          supplemental briefs on the question.                     If a  plaintiff lacks standing to bring a matter before          a court, the court lacks jurisdiction to decide the merits of the          underlying  case.  United States v.  AVX Corp., 962 F.2d 108, 113
                             _____________     _________          (1st  Cir.  1992).     Thus,  standing  is   a  threshold  issue,          determining whether the court has the power to hear the case, and          whether  the putative  plaintiff is  entitled to  have the  court          decide  the  merits  of the  case.    Id.    The inquiry  into  a
                                                __          plaintiff's   standing  "involves   a  blend   of  constitutional          requirements  and  prudential  considerations."     Valley  Forge
                                                              _____________          Christian Coll.  v. Americans United for Separation of Church and
          _______________     _____________________________________________          State, 454 U.S. 464, 471 (1982).  
          _____                    There  are  three  irreducible, minimum  constitutional                                         -10-



          elements  of standing.  Lujan  v. Defenders of  Wildlife, __ U.S.
                                  _____     ______________________          __, 112 S. Ct. 2130,  2136 (1992).  First, a plaintiff  must have          suffered  an  "injury  in fact"  --  an  invasion  of a  legally-          protected interest which is  (a) concrete and particularized, and          (b)  actual or imminent,  not conjectural  or hypothetical.   Id.
                                                                        __          (footnote and internal quotations omitted). Second, there must be          a causal connection between the injury and the conduct complained          of,  such that the injury  is fairly traceable  to the challenged          action of the  defendant and  not the result  of the  independent          action  of some third party not before  the court.  Id.  Finally,
                                                              __          it  must be likely, and  not merely speculative,  that the injury          will be redressed by a favorable decision.  Id.
                                                      __                    To establish these elements  of standing at the summary          judgment stage of a  proceeding, a plaintiff cannot rest  on mere          allegations, but  must set forth  by affidavit or  other evidence          specific facts which for purposes of  the summary judgment motion          will be taken to be true.  Id. at 2137. 
                                     __                    In   addition   to   these  constitutionally   required          elements,  the  doctrine  of  standing  also  involves prudential          considerations.  Specifically, a  court must determine 1) whether          a  plaintiff's  complaint  falls  within the  zone  of  interests          protected  by  the law  invoked;  2)  whether  the  plaintiff  is          asserting  its own rights and  interests, and not  those of third          parties;3 and 3) that  the plaintiff is not  asking the court  to                              
          ____________________          3  An  exception to this  general rule is  that associations  may          assert  the claims  of  their members  in certain  circumstances,          discussed below.                                         -11-



          adjudicate abstract  questions of wide public  significance which          amount to generalized grievances  more appropriately addressed by          the legislature.  AVX Corp., 962 F.2d at 114 (citations omitted).
                            ________                     Finally,  the Supreme  Court  has stated  that a  RICO          plaintiff  seeking to  invoke  a court's  jurisdiction must  also          establish that she has  been injured in her business  or property          by  the   conduct  allegedly  constituting  the  RICO  violation.          Sedima,  S.P.R.L. v. Imrex Co.,  Inc., 473 U.S.  479, 496 (1985).
          _________________    ________________          With these principles in mind,  we address whether the Appellants          have standing as to each claim.                    1.  Appellants' standing to bring a RICO claim 
                    1.  Appellants' standing to bring a RICO claim 
                        __________________________________________                    Appellees first  contend that Appellants  lack standing          to assert claims under    1962(c) and (d) of RICO.  Specifically,          they argue  that Libertad,  Emancipaci n, and Grupo  Pro Derechos          Reproductivos  ("Grupo Pro  Derechos") lack  standing to  bring a          RICO  claim  because  they  suffered  no injury  to  business  or          property.   Second, Appellees  argue that the  three clinics  and          Gonz lez, C ceres,  and Castro  lack standing under  RICO because          they  have failed  to  show that  Appellees' actions  proximately          caused them any injury.                           a.  Do Libertad and Emancipaci n have standing?
                         a.  Do Libertad and Emancipaci n have standing?                    Libertad  and Emancipaci n  are women  who have  sought          reproductive health services at  the blockaded clinics.  Libertad          submitted a sworn statement  in support of Appellants' opposition          to summary judgment, in which she described her experience at the          WMC.   She stated  that the anti-abortion  protesters intimidated                                         -12-



          her and made her  angry; however, the protesters did  not prevent          her from attending her appointment at the clinic and obtaining an          abortion.                    Emancipaci n  testified at the summary judgment hearing          about her experience at the  blockaded clinic.  Unlike  Libertad,          Emancipaci n  was intimidated  enough by the  Appellees' blockade          and  protest  tactics that  she  was deterred  from  entering the          clinic for her appointment.   Emancipaci n eventually returned to          the  clinic  on  a  different  day,  however,  and  there  is  no          indication that the delay caused her any physical harm.                    Although we acknowledge that both women reasonably felt          intimidated and  harassed, neither  woman suffered any  injury to          business  or property, as is  required for standing  to sue under          RICO.   We therefore hold  that Libertad and  Emancipaci n do not          have standing to maintain this RICO claim.                         b.  Does the Grupo Pro Derechos have standing?
                         b.  Does the Grupo Pro Derechos have standing?                    Appellant  Grupo  Pro  Derechos  is an  association  of          feminist  and human  rights organizations  and individuals.   The          group's mission is to defend women's reproductive rights, and  to          work  for quality  women's  health services,  sex education,  and          family planning.  It allocates some of its resources to providing          protection  for women who patronize  a blockaded clinic, and sues          on its own behalf and on behalf of its members.                      We have  combed through the voluminous  record and have          been  unable  to  find   any  evidence,  or  even   any  specific          allegation,  that the Grupo Pro Derechos has sustained any injury                                         -13-



          to business or  property as a result of  Appellees' conduct.  One          of  the   organization's  members,  Ms.  Nancy   Herzig  Shannon,          testified  that  while  at  one  of  the  blockaded clinics,  she          received  a death threat from a protester.   She is not herself a          named plaintiff,  however,  and she  did  not testify  about  any          injury  sustained  by  the  group, such  as  expended  resources,          property  damage, foregone  business activities,  or extortionate          threats  to its  general membership.   While  the conduct  of the          protesters,  lawful and  unlawful, certainly  conflicts with  the          group's mission  and renders  their objectives more  difficult to          achieve, this  by itself does not  give rise to an  injury to the          group's  business or property interests.   We therefore hold that          the  Grupo Pro Derechos does  not have standing  to maintain this          RICO cause of action.4                         c.  Do the remaining Appellants have standing?
                         c.  Do the remaining Appellants have standing?                    Appellees  claim that  the  remaining  Appellants,  the          three  clinics  and  their  directors   or  administrators,  lack          standing to bring the RICO claim because they have failed to show                              
          ____________________          4  Plaintiffs like Libertad and  Emancipaci n could have standing          to sue under  RICO, if they were to submit sufficient evidence of          injury  to  business or  property such  as  lost wages  or travel          expenses,  actual  physical  harm, or  specific  property  damage          sustained as a result of a RICO defendant's actions.   The record          before us, however, does not sufficiently establish this required          element.   Similarly,  it  is not  impossible for  unincorporated          groups and  organizations to  have standing  under  RICO, if  the          group could meet the  tests for associational or representational          standing,  see, e.g., Pennell v. City of  San Jos , 485 U.S. 1, 7
                     ___  ____  _______    _________________          n.3  (1988),  and  could   sufficiently  establish  that  a  RICO          defendant's  conduct  caused  it   some  injury  to  business  or          property.                                           -14-



          that  Appellees' acts  proximately caused them  injury.5   Even a          cursory  review  of the  record,  particularly  of the  testimony          adduced at  the summary  judgment hearing, belies  this argument.          The record  is replete  with evidence  of the extensive  property          damage  caused by Appellees'  blockades at  the clinics:   broken                              
          ____________________          5   Appellees  also  claim that  these  Appellants lack  standing          because  they  "lack"  the  necessary  two predicate  acts.    As          Appellees point out, to prove a violation of RICO, a plaintiff or          plaintiffs  must show a  minimum of the  two necessary "predicate          acts"  which  allegedly  constitute  a  "pattern  of racketeering          activity."   See  18 U.S.C.    1961(5).   Appellees  contend that
                       ___          because the record shows the WMC and LMC clinics were the targets          of only one blockade each, neither of them can sue under RICO.             This  argument  simply  has  no  merit.    An  analysis  of  a          plaintiff's  standing focuses not on the claim itself, but on the          party  bringing the  challenge;  whether a  plaintiff's complaint          could survive  on  its  merits  is  irrelevant  to  the  standing          inquiry.  Family &amp;  Children's Ctr. v. School City  of Mishawaka,
                    _________________________    _________________________          13 F.3d 1052,  1058 (7th  Cir. 1994); see  also Washington  Legal
                                                _________ _________________          Found. v. Massachusetts Bar  Found., 993 F.2d 962, 971  (1st Cir.
          ______    _________________________          1993) ("Our  standing inquiry  depends on whether  the plaintiffs          have established the existence of a case or controversy . . . but          does not involve the  merits of particular claims.").   The "two-          act minimum" is a part of  the substantive "pattern" element of a          RICO cause  of action, not  a threshold requirement  necessary to          confer standing.  See 18 U.S.C.    1961(5) and 1962; Fleet Credit
                            ___                                ____________          Corp. v. Sion, 893 F.2d 441, 444 (1990).
          _____    ____             Moreover,  nowhere in either the text of  RICO or the case law          is there any suggestion that each victim of an alleged pattern of
                                       ____ ______          racketeering activity  must have suffered at  least two predicate          acts  at the hands  of the defendant.   In fact,  adopting such a          requirement  would  conflict  with  the   statute's  purpose  and          seriously  curtail the  statute's  intended  breadth.  Under  the          Appellees'   proposed  scheme,  a   defendant  could  avoid  RICO          liability  simply by  continually  choosing new  targets for  his          unlawful  activities,  a  result  that Congress  could  not  have          intended.   In the  instant case,  each Appellant clinic  was the          target  of  Appellees' unlawful  blockades.    Each blockade  was          executed in a similar fashion with exactly the same purpose -- to          delay  or   prevent  the  clinics  from   opening  and  providing          abortions.  Therefore, that  the LMC and WMC were  only blockaded          once each is irrelevant  to either their standing under  RICO, or          to the  merits of their claim.  It is sufficient that the clinics          have been among the targets of Appellees' five blockades.                                         -15-



          locks, damaged gates, vandalism, strewn litter on the grounds, to          list  examples.  Appellee Welch and his followers also did damage          inside the  clinics, ripping  out electrical sockets  and jamming          door  locks.  The blockades also delayed or prevented the clinics          from conducting business on  those days.  We therefore  find that          Appellants  have  sufficiently   shown  injury  to   business  or          property,  and  that  this   injury  was  proximately  caused  by          Appellees.                    As to the third,  "redressibility" element of standing,          Appellants seek, among  other things, declaratory and  injunctive          relief  from  the  Appellees'  blockade activities  --  the  same          activities  that  caused  their   injury.    This  satisfies  the          "necessary causal  connection between the injury  alleged and the          relief requested,"  Vote Choice, Inc. v. DiStefano, 4 F.3d 26, 37
                              _________________    _________          (1st  Cir. 1993),  and  we  therefore  find  that  the  remaining          Appellants  have  established  the   constitutional  requirements          necessary to confer standing.                    Over  and  above  these constitutional  requisites,  an          analysis  under the  standing  doctrine also  embraces prudential          concerns   regarding   the  proper   exercise   of  the   court's          jurisdiction.  Vote  Choice, Inc., 4 F.3d  at 37.   The remaining
                         __________________          Appellants satisfy these  concerns.  They are asserting their own          rights and  interests in conducting their  lawful business; their          grievances are particularized  and concrete;  and the  Appellants          fall within the  zone of interests  contemplated by the  explicit          terms  of  the RICO  statute  --  namely,  "person[s] injured  in                                         -16-



          [their]  business   or  property"   by  an  alleged   pattern  of          racketeering activity.   1964(c); see also, Sedima, S.P.R.L., 473
                                            ________  ________________          U.S. at 483, 497  (discussing the "far-reaching civil enforcement          scheme"  established by RICO,  and rejecting restrictive readings          of the statute's intended scope).                    Accordingly, we hold  that the remaining  Appellants --          the clinics,  C ceres, Oficinas, Rivera, Gonz lez,  and Castro --          all have standing to maintain this RICO claim.6                    2.  Appellants' standing to maintain a   1985(3) claim
                    2.  Appellants' standing to maintain a   1985(3) claim
                        __________________________________________________                    Appellees also contend that Appellants lack standing to                              
          ____________________          6   Appellees  somewhat  cryptically claim  that Appellants  have          failed to  establish that their injuries  were proximately caused          by the alleged underlying  RICO violation, which in this  case is          extortion under  the Hobbs  Act, 18  U.S.C.    1951(b)(2) (1984).          Under this provision, extortion  means "the obtaining of property          from another, with his consent, induced by wrongful use of actual          or threatened force, violence, or fear."  The intangible right to          freely conduct  one's lawful business  contitutes "property"  for          purposes  of  this  section.    See  Northeast  Women's  Ctr.  v.
                                          ___  ________________________          McMonagle,  868 F.2d 1342, 1350 (3d Cir.), cert. denied, 493 U.S.
          _________                                  _____ ______          901 (1989).             If   Appellees  are  contending   that  Appellants   have  not          sufficiently   proven  the   underlying  extortion   claim,  this          contention again  goes to  the substantive merits  of Appellants'          case, and not to the threshold issue of  standing.  Moreover, the          record  clearly  shows   that  Appellees  used   force  (physical          obstruction,    trespass,     vandalism,    resisting    arrest),          intimidation, and  harassment of  clinic personnel and  patients,          with the specific, uniform purpose of preventing the clinics from          conducting  their normal,  lawful  activities.   The record  also          amply  shows  that  Appellees'  tactics  include  the intentional          infliction  of  property  damage,  and  directly  result  in  the          clinics' loss of business.  It is difficult to conceive  a set of          facts that more clearly  sets forth extortion as it is defined by            1951(b)(2).  We  therefore are satisfied that, for  the limited          purpose  of  maintaining  their  RICO  claims,   Appellants  have          sufficiently  established  that  Appellees' blockades  constitute          extortion,  and that  the  extortionate acts  proximately  caused          injury or damage to Appellants' property.                                         -17-



          maintain their  claim under  the  hindrance clause  of 42  U.S.C.            1985(3).7   They argue that  claims under the  hindrance clause          require a showing of 1) a class-based, invidiously discriminatory          animus,  and 2) the assertion  of a right  protected against both          private,  as well as official, encroachment.8  As we will discuss          below, it is not entirely clear that Appellees' interpretation of          the hindrance clause's requirements is correct.                      In any event, their interpretation is irrelevant to the          issue of Appellants'  standing to maintain a    1985(3) hindrance          clause  claim, because  Appellees  have once  again confused  the          substantive  elements of  a cause  of action  with the  threshold          requirements necessary  to confer standing.   Appellants need not          establish the elements of  their cause of action in order to sue,
                                                                       ___          only to succeed on the merits.  In order to have standing to sue,
                  _______          Appellants  must  only  establish  that  the  constitutional  and          prudential considerations set forth above are satisfied.                    It is clear  that Appellants  satisfy the  requirements          for  standing.   First, for  reasons similar  to those  set forth          above,  the clinics,  C ceres,  Oficinas, Rivera,  Gonz lez,  and          Castro all have standing.  They all have sufficiently established          an  injury-in-fact,  either  to   their  physical  plant,   their                              
          ____________________          7  The hindrance clause of   1985(3) prohibits  a conspiracy "for          the   purpose  of   preventing  or   hindering  the   constituted          authorities . . .  from giving or securing  to all persons .  . .          the equal protection of the law."           8  Appellees base  their arguments on Bray v.  Alexandria Women's
                                                ____     __________________          Health Clinic,  __ U.S. __, 113  S. Ct. 753 (1993),  in which the
          _____________          Supreme   Court   held   that   successful   claims   under   the          "deprivation" clause of   1985(3) must establish these elements.                                         -18-



          intangible property  right to  conduct lawful business,  or both.          They  have  also  sufficiently established  that  the  Appellees'          activities proximately caused their injuries, and that the relief          they seek here will redress those injuries.                      Although Libertad  and Emancipaci n did  not allege  or          establish an  injury to business or property sufficient to invoke          the  court's   jurisdiction  on  their  RICO   claim,  they  have          established  an injury-in-fact  sufficient  to  maintain their             1985(3)  claim.    The   injury-in-fact  requirement  "serves  to          distinguish  a person  with a  direct stake  in the outcome  of a          litigation -- even  though small  -- from  a person  with a  mere
                        __________________          interest in  a problem."   United States v.  Students Challenging
                                     _____________     ____________________          Regulatory  Agency Procedures  (SCRAP),  412 U.S.  669, 690  n.14
          ______________________________________          (1973)   (citations  omitted)   (emphasis  added).     Therefore,          plaintiffs such as Libertad and Emancipaci n need not establish a          particularly damaging injury; they need only  show that they were          directly  affected by  the conduct  complained of,  and therefore          have a personal stake in the suit.  See also Adams v. Watson,  10
                                              ________ _____    ______          F.3d 915,  918 (1st Cir. 1993)  (noting that the contours  of the          injury-in-fact requirement are "generous," and that even a slight          injury   suffices  to   confer  standing).   Both   Libertad  and          Emancipaci n had appointments  at, and attempted to enter, one of          the blockaded  clinics.   Both  were, therefore,  targets of  the          Appellees'  activities  which  form  the basis  for  the  alleged          conspiracy in violation of    1985(3), and both were  affected by          the alleged conspiracy to a degree sufficient to confer standing.                                         -19-



                               These   Appellants   also   satisfy    the   prudential          considerations involved  in the  standing inquiry.   First, their          claims  do not fall outside the reasonable "zone of interests" of            1985(3),  which  purports  to  afford remedial  relief  to  all          citizens.  See Bray, __  U.S. at __, 113 S. Ct. at  785 (Stevens,
                     ___ ____          J., dissenting) (discussing the statute's legislative history and          intended  scope).  Second, although the Appellants claim to bring          this suit in  part on behalf of all women  in Puerto Rico seeking          family planning services, they are also suing on their own behalf          and  are  therefore  asserting   their  own  concrete  rights  or          interests.   Finally, their claims are  not abstract questions or          generalized    grievances,    but   instead    are   sufficiently          particularized, such that they  may appropriately be addressed by          the judiciary.   We  therefore hold that  Libertad, Emancipaci n,          the clinics, C ceres, Oficinas,  Rivera, Gonz lez, and Castro all          have  standing to maintain their claim under the hindrance clause          of   1985(3).                    The  Grupo Pro  Derechos  is the  only Appellant  whose          standing under   1985(3) is still in question.  Because Grupo Pro          Derechos  is an  association  whose standing  is premised  not on          injury  to  itself  but   to  others,  we  apply  the   test  for          "associational standing,"  which is  slightly different  than the          traditional  standing inquiry.    It  is  well  settled  that  an          association may sue on behalf of its members when 1) at least one          of its members possesses standing to sue in his or her own right;                                         -20-



          2) the interests that  the suit seeks to vindicate  are pertinent          to the objectives for  which the organization was formed;  and 3)          neither the  claim asserted nor the  relief demanded necessitates          the personal  participation of affected individuals.   AVX Corp.,
                                                                 _________          962 F.2d at 116 (citations omitted).                        That Grupo Pro Derechos  satisfies the second and third          prongs of this analysis is not reasonably subject to debate.  The          interests  of  its suit  here  --  to  prevent unlawful  blockade          activities  at abortion clinics in Puerto Rico in order to ensure          access to family planning  services for Puerto Rican women  -- is          not  only pertinent  to the  group's purpose,  it is  its primary
                                                            __          purpose.  Nor do the group's claims here require that each of its          members participate in the suit or in the relief demanded.                    The only real issue is  whether the Grupo Pro  Derechos          satisfies the first prong -- that is, whether at least one of its          members  has standing  to assert  the claims  in his  or her  own          right.    In the  Appellants'  amended  complaint,  the group  is          described  as  an  association   of  feminist  and  human  rights          organizations and individuals.  Among its members is Nancy Herzig          Shannon,  who testified that she  was harassed during  one of the          blockades, and received a death threat from a protester.  This is          certainly enough to  confer standing on her.   Because it is  not          contested that Herzig  is a member of Grupo  Pro Derechos and she          has  standing on  her own  to  sue, we  hold that  the Grupo  Pro          Derechos  has associational  standing to  maintain the    1985(3)          claim.                                           -21-



                    C.  Appellees' claims of defective service of process
                    C.  Appellees' claims of defective service of process                    Appellants contend that the district  court erroneously          dismissed  their claims  against  SLC and  Rescue America  due to          defective service of process.  Specifically, the court found that          the service was defective because the summons failed to state the          name  of the  person  served. The  court's  dismissal, claim  the          Appellants, was based on its incorrect assumption that Appellants          had conceded the issue  of improper service, and was  granted sua
                                                                        ___          sponte  without  affording  them  an opportunity  to  defend  the
          ______          service.                    In fact,  claim  the Appellants,  all  the  defendants,          including SLC and Rescue America, were personally served  by U.S.          Marshals,  and  return of  service  was filed  with  the district          court.  Rescue America and SLC were both  served through a proper          agent as authorized by Fed. R. Civ. P. 4(h).  For Rescue America,          the  U.S. Marshals  served  both Treshman,  the group's  National          Director, and Martin,  the group's Executive Director.   For SLC,          the Marshals served Weslin, the group's national director.                      We have held that  "the root purpose underlying service          of process is to ensure that a defendant receives fair  notice of          the  suit and  adequate  opportunity to  protect her  interests."          Jardines  Bacata, Ltd. v. D az-M rquez,  878 F.2d 1555, 1559 (1st
          ______________________    ____________          Cir. 1989).  When an alleged defect in service is due to a minor,          technical  error,  only  actual  prejudice to  the  defendant  or          evidence of a flagrant disregard of the requirements of the rules          justifies dismissal.    4A  C.  Wright  and  A.  Miller,  Federal
                                                                    _______                                         -22-



          Practice &amp; Procedure, Civ.  2d   1088; Benjamin v.  Grosnick, 999
          ____________________                   ________     ________          F.2d 590,  594 (1st Cir.  1993) (dismissal for  defective service          not  required   where  defect   in  service  did   not  prejudice          defendant); see also,  Hobson v.  Wilson, 737 F.2d  1 (D.C.  Cir.
                      ________   ______     ______          1984)  (dismissal for  defective service  should be  granted only          when  defendant was  prejudiced);  United Food  &amp; Comm'l  Workers
                                             ______________________________          Union Int'l  v. Alpha  Beta Co.,  736 F.2d 1371,  1382 (9th  Cir.
          ___________     _______________          1984) (dismissal is  generally not justified absent a  showing of          prejudice,  and  defendant's  answer and  general  appearance  in          action  should  prevent  any  technical error  from  invalidating          entire process).                      Here,  Appellees do  not claim  that they  suffered any          prejudice from the  minor, technical defect in the summonses, and          we  do not discern any prejudice.   It is clear that at all times          during the proceedings, Rescue America and SLC had fair notice of          the suit,  and adequate  opportunity to protect  their interests.          Both  parties' counsel made general appearances at every stage of          the proceeding, and  had ample opportunity to  defend against the          Appellants' claims.  Dismissing the claims against Rescue America          and SLC exalts the form of Rule 4 over its substance and purpose.          We therefore  find that  the district court  improperly dismissed          the Appellants' claims  against Rescue America  and SLC on  these          grounds, and  we accordingly  reinstate the claims  against these          Appellees.    We may  now turn  to  the substance  of Appellants'          claims.                                    III.  ANALYSIS
                                    III.  ANALYSIS                                         -23-



                    A.  Appellants' RICO claims
                    A.  Appellants' RICO claims
                        _______________________                    Appellants allege that Appellees have conspired to, and          have conducted  or participated in  the conduct of  an enterprise          through  a pattern of  racketeering activities, specifically with          intent to extort Appellants'  property interest in their business          and  practice of health care, all  in violation of    1962(c) and          (d) of RICO.9                     To  state a  claim under     1962(c), a  plaintiff must          allege each of  the four elements  required by the  statute:   1)          conduct;  2)  of  an enterprise;  3)  through  a  pattern; 4)  of          racketeering activity.  Feinstein  v. Resolution Trust Corp., 942
                                  _________     ______________________          F.2d 34, 41 (1st Cir. 1991) (citing Sedima, S.P.R.L., 473 U.S. at
                                              ________________          496).  For  claims under    1962(d), a  plaintiff must show  that          each  defendant in the  RICO conspiracy case  joined knowingly in          the scheme and was  involved himself, directly or indirectly,  in          the  commission of at least  two predicate acts.   Feinstein, 942
                                                             _________          F.2d at  41  (citations  omitted);  see  also  United  States  v.
                                              _________  ______________          Angiulo, 847 F.2d 956, 964 (1st Cir.) (necessary elements of RICO
          _______          conspiracy charge are  1) existence of  enterprise; 2) that  each          defendant  knowingly  joined the  enterprise;  and  3) that  each          defendant agreed to  commit, or  in fact committed,  two or  more          predicate acts as part of his participation in enterprise), cert.
                                                                      _____                              
          ____________________          9   Section 1962(c)  of RICO  makes it unlawful  "for any  person          employed  by or associated with any enterprise engaged in, or the          activities of  which affect,  interstate or foreign  commerce, to          conduct or participate, directly or indirectly, in the conduct of          such  enterprise's  affairs  through a  pattern  of  racketeering          activity .  . . ."   Section  1962(d) makes it  unlawful for  any          person to conspire to violate   1962(c).                                         -24-



          denied, 488 U.S. 852 (1988).
          ______                    1.  Have Appellants established an "enterprise"?
                    1.  Have Appellants established an "enterprise"?
                        ___________________________________________                    The term "enterprise" is defined in the RICO statute as          including "any individual, partnership, corporation, association,          or  other legal  entity, and  any union  or group  of individuals
                                   ___          associated  in  fact  although not  a  legal  entity."    1961(4)
          ____________________          (emphasis   added).     There  are,   therefore,  two   types  of          enterprises:   legal entities  and associations-in-fact.   United
                                                                     ______          States  v. Turkette, 452 U.S.  576, 580-581 (1981).   The Supreme
          ______     ________          Court  has explained  that in  order  to prove  a  RICO claim,  a          plaintiff  must  show both  an  "enterprise"  and a  "pattern  of          racketeering  activity."   Turkette,  452  U.S.  at   583.    The
                                     ________          enterprise  is an  entity, a  group of  persons associated  for a          common purpose of engaging in  a course of conduct.  The  pattern          of  racketeering  activity, on  the other  hand,  is a  series of          criminal acts  as defined  by the  RICO statute.   The  former is          proved  by  "evidence  of  an  ongoing  organization,  formal  or          informal, and by evidence that the various associates function as          a continuing  unit."  Id.   The latter is proved  by "evidence of
                                __          the requisite  number of  acts of  racketeering committed  by the          participants in the  enterprise."  Id.   While the proof  used to
                                             __          establish these  separate elements  may "coalesce," proof  of one          does  not necessarily establish the other.  Id.  The "enterprise"
                                                      __          is  not the "pattern of  racketeering activity;" it  is an entity          apart  and  distinct from  the pattern  of  activity in  which it          engages.   The  existence  of  an  enterprise  is,  therefore,  a                                         -25-



          separate element which must be proven.  Id.
                                                  __                    The enterprise need not  be a profit-seeking entity, or          a victim of unlawful activities.   Scheidler, 114 S. Ct. at  804.
                                             _________          Rather, the  enterprise may  be the  "vehicle" through which  the          unlawful pattern of racketeering activity is committed.  Id. 
                                                                   __                    In addition,  we have  consistently held that  the same          entity cannot do "double duty" as both the RICO defendant and the          RICO enterprise.  See,  e.g., Miranda v. Ponce Federal  Bank, 948
                            ___   ____  _______    ___________________          F.2d 41, 44-45 (1st  Cir. 1991) (citations omitted).   The person          or persons alleged to be engaged in racketeering activity must be          entities distinct from the enterprise.  Odishelidze v. Aetna Life
                                                  ___________    __________          &amp; Casualty Co., 853 F.2d 21, 23 (1st Cir. 1988) (per curiam).  In
          ______________          other words,  because the  racketeer and  the enterprise must  be          distinct,  Miranda, 948  F.2d at  45, the  enterprise must  be an
                     _______          entity  separate  from the  named  defendants  who are  allegedly          engaging in unlawful activity.                        The district  court  granted summary  judgment  against          Appellants, finding that they had failed to show the existence of          an  "enterprise."   Relying  on  Turkette,  the court  held  that
                                           ________          Appellants had adduced  no evidence that the  Appellees formed an          association-in-fact or that they functioned as a continuing unit.          The district court reasoned  that the record shows only  that the          Appellees came together for one "ephemeral gathering," the clinic          blockade in  Puerto Rico  on January  8; it  does not, the  court          continued,   indicate  that  this   activity  emanated   from  an          association distinct from the activities themselves.   Appellants                                         -26-



          now  contend that  the district court  erred in  granting summary          judgment on these grounds.                    Appellants   have   offered   evidence  regarding   the          structure, organization, and various activities of  the Appellees          Rescue America, SLC, and PLRT, and claim that it establishes that          each  of  these groups  is  an "association-in-fact"  enterprise.          This  argument,  however, misses  the  point of  our  holdings in          Miranda,  948 F.2d  at 44-45  and the  cases cited  therein.   To
          _______          support  the  Appellants' RICO  claim,  the  record must  contain          evidence that the Appellees -- Rescue America, SLC, PLRT, and the          individuals -- constitute and operate  as part of an association-          in-fact enterprise.   In other  words, Appellants  must show  the          existence  of the enterprise, of which the Appellees were a part.
                                        __ _____          As a matter of law, it is not  sufficient that several organized,          ongoing  groups come  together for  one concerted  action, unless
                                                                     ______          those groups can also be shown  to constitute a larger unit, over          and above  their separate  structures and operations,10  and that          this  unit meets  the Turkette  criteria for  an "association-in-
                                ________          fact."                    We disagree with the district  court's characterization          of the  January 8 blockade  as an "ephemeral  gathering"; despite          Appellees'  protestations to  the contrary,  it is  clear  that a                              
          ____________________          10  This is not to  say that the separate structures and distinct          activities  of  each  Appellee   are  irrelevant.    Evidence  of          structure,  organization, or operations  could indicate  that the          groups' regular  course of conduct involves  their functioning as          part of a larger  enterprise.  It is not,  however, sufficient in          itself to show the existence of the enterprise.                                         -27-



          substantial amount  of planning  and coordination  occurred among          the  Appellees  in  preparation  for the  January  8  incident.11          This  evidence  alone,  however,   is  insufficient  to  show  an          enterprise.   There are five  clinic blockades at  issue here; at          only  the January 8 protest,  however, were all  of the Appellees          present or represented.   The  record shows that  the other  four          protests were  organized and conducted solely  by Appellee Welch,          members of  the  PLRT,  and  on  one  occasion,  Carlos  S nchez.          Evidence of  the one  blockade's coordination therefore  does not          lead  ineluctably to a conclusion that the Appellees belong to or          constitute an ongoing organization that functions as a continuing          unit.                     Appellants  contend that under the generous standard of          review for summary judgment, this one well-planned blockade could
                                                                      _____          indicate  the  existence  of  an  enterprise,  and  that  summary          judgment was  therefore improperly  granted.  We  have repeatedly          held,  however, that mere conjecture does not suffice to create a          factual dispute and  overcome a summary judgment  motion.  Thomas
                                                                     ______          v. Metropolitan  Life Ins. Co, 40  F.3d 505, 508 (1st  Cir. 1994)
             __________________________          (citations omitted).   While  the January  8 blockade  "could" be          just  the   tip  of   the  alleged  enterprise's   iceberg,  this          speculation  can not defeat summary  judgment.  Without more, one          could  just as reasonably  speculate that the  January 8 blockade                              
          ____________________          11  These planning efforts include the financing and arranging of          Treshman  and  Martin's  travel  to  Puerto  Rico,  drafting  and          issuance of press releases, preparation of banners, placards, and          flyers, and  the coordination of meetings,  press conferences and          the blockades themselves.                                         -28-



          was a  well-coordinated but one-time activity  of several similar          but otherwise unconnected parties,  and not an act by  members of          an ongoing organization.                    The  Appellants  also  argue  that  because there  were          numerous  blockades, all  using  the same  methods and  involving          similar  groups  and  individuals, and  all  for  the  purpose of          preventing  abortions, it  follows  that  an  enterprise  exists.          Certainly,  these  Appellee  organizations  and  individuals have          similar objectives,  and use  similar methods of  attaining those          goals  -- some  lawful or  even constitutionally  protected, some          not.  Yet  similarity of goals  and methods  does not suffice  to          show  that an enterprise exists; what is necessary is evidence of          systemic linkage, such  as overlapping leadership,  structural or          financial ties, or continuing coordination.                     Furthermore,  we are  mindful  of  the Supreme  Court's          admonition in NAACP v. Claiborne Hardware Co., 458 U.S. 866, 930-
                        _____    ______________________          932 (1982), that liability for mere membership in an association,          particularly  when that association  is ideological, may conflict          with the First Amendment.  See also Scheidler, 114 S.  Ct. at 807
                                     ________ _________          (Souter, J.,  concurring)  (discussing possible  First  Amendment          issues  raised by RICO actions against protest groups).  In light          of these  constitutional concerns,  it is  particularly important          that  Appellants   present   sufficient  evidence,   beyond   the          Appellees'  similarity  of viewpoint,  rhetoric and  strategy, to          show an enterprise.                      To  this  effect,  Appellants  have  submitted  a press                                         -29-



          release12 written  in Spanish  and  issued by  Rescue America  in          Houston,  dated March 4, 1994 (one year after the blockades), the          certified translation of which reads in pertinent part:                      Don Treshman,  the controversial national                      director   of  the   anti-abortion  group                      Rescue   America,   announced  today   in                      Houston  a campaign to stop all abortions                      in  Puerto Rico.    Treshman stated  that                      worldwide   Puerto    Rico   is   already                      considered a pro-life success  because of                      the actions  taken by a  local affiliated
                                                     __________                      group,  the  Pro-Life  Rescue Team.  'The                      time  is coming  to  finish what  we have
                                       ________________________                      started,'  said Treshman.    At the  same
                      _______                      time,  Treshman   announced  that  Father                      Patrick  Welch will arrive in Puerto Rico                      tomorrow  .   .  .  .  Father  Welch  was                      arrested together with Treshman last year                      as a result of a blockade  in front of an                      abortion  clinic  in San  Juan  .  . .  .                      'Father  Welch   is  representing  Rescue
                                           ____________________                      America as the  regional director' .  . .
                      ______________  _________________                      Rescue  America  is  well known  for  its                      creative tactics used  to block  abortion                      clinics in all parts of the United States                      and  in other  countries.   Treshman said                      that it is 'very probable' that an  anti-
                                                      _________                      abortionist group from the  United States
                      _________________________________________                      may  come to  Puerto Rico within  a short                      time, for the second time 'to participate
                            ___________________________________                      with  local pro-life groups.'  He refused
                      ___________________________                      to indicate whether  the radical group is                      planning to  block access to some  of the                      abortion facilities  . . . ,  but he said                      that 'they will use  all the methods that
                            ___________________________________                      they believe necessary to save  the lives
                      ______________________                      of  the innocent  unborn.'   Father Welch                              
          ____________________          12  We  reject Appellees'  contention that the  press release  is          inadmissible  hearsay.   The press  release is  not hearsay,  but          admissible  evidence as  an admission  of a  party-opponent under          Fed. R. Evid. 801(d)(2)(A).             Appellants also  point to  statements allegedly made  by Welch          and  reported in a local newspaper as supporting the existence of          an  enterprise.    These  newspaper articles,  unlike  the  press          release, are hearsay, and thus inadmissible to prove the truth of          the matters asserted therein.                                         -30-



                      will supposedly give more  details during                      a press conference today . . . .           (Emphasis added).   Additionally, although Appellee  Welch denied          that  the PLRT  was affiliated  with  any other  organization, he          stated that he "shared  information" with other groups, including          Rescue  America,  on  a  regular  basis,  by  faxing  and mailing          tactical manuals, videos, pamphlets, press releases, and activity          updates to one another.                      These facts, viewed in the light most favorable to the          Appellants, strongly suggest  that the Appellees  Rescue America,          PLRT,  Welch,  and  Treshman   constitute  or  are  part  of   an          "association-in-fact."   Rescue America's press release claiming,          if not boasting of,  its "affiliation" with the PLRT,  and naming          Welch as a "regional director," is highly competent evidence that          the two groups are connected in a somewhat formal sense, and that          they share common leaders  or organizers -- in other  words, that          they  function  as a  continuing unit.    That the  press release          announced the groups' plans to "continue" their efforts in Puerto          Rico, over a year  after the blockades, also indicates  a ongoing
                             _____          relationship among those Appellees.   We therefore find that  the          Appellants have adduced  sufficient evidence  of an  "enterprise"          among Rescue  America, Welch,  Treshman, and the  PLRT to  defeat          summary judgment, and  we reverse the district  court's ruling as          to the existence of an enterprise.                     Appellants have  not, however, pointed to any competent          evidence  that the Appellees Weslin, Martin, or the SLC have been          or are associated with any of  the other Appellees on an  ongoing                                         -31-



          basis, or that they  function with them  as part of a  continuing          unit.  In  fact, the  record shows nothing  more than that  those          Appellees  planned  and participated  in  one  blockade with  the          others.     Furthermore,   although  Welch   testified  that   he          communicates  with Appellee S nchez  as often as  every other day          about  their  groups'  activities,   he  denied  that  they  ever          discussed blockades, and  we find  no evidence in  the record  to          indicate otherwise, or suggesting that S nchez is associated with          the PLRT or  Welch.  We  therefore find that the  Appellants have          not adduced sufficient evidence that Weslin, Martin, S nchez, and          the SLC are part of any RICO  enterprise, and affirm the district          court's  dismissal  of  Appellants'   RICO  claims  as  to  those          Appellees only.                    2.   Have   Appellants   established   a  "pattern   of
                    2.   Have   Appellants   established   a  "pattern   of
                         __________________________________________________                         racketeering activity"?
                         racketeering activity"?
                         ______________________                    Under  the terms  of the  RICO statute,  a "pattern  of          racketeering activity requires at  least two acts of racketeering          activity."   18 U.S.C.   1961(5).  The definitional section "does          not so much define  a pattern of racketeering activity as state a          minimum necessary condition for the existence of such a pattern."          H.J.  Inc.,  492  U.S.  at  237.    The  two  predicate  acts  of
          __________          racketeering activity must be acts chargeable or indictable under          any one or more  of certain specified criminal laws.   Feinstein,
                                                                 _________          942  F.2d at  42; 18  U.S.C.    1961(1)(B).   These  acts include                                         -32-



          "extortion" as  it  is defined  in  the Hobbs  Act,  18 U.S.C.             1951(b)(2).13    In addition,  a RICO plaintiff  must demonstrate          that the predicate acts are  related, and that they amount to  or          pose a threat  of continued  criminal activity.   H.J. Inc.,  492
                                                            _________          U.S. at 237.                            a.  Relatedness
                         a.  Relatedness                    We  have  noted that  "the  relatedness test  is  not a          cumbersome one for a RICO plaintiff."  Feinstein, 942 F.2d at 44.
                                                 _________          A RICO plaintiff  establishes that predicate acts  are related by          demonstrating  that  they "have  the  same  or similar  purposes,          results, participants,  victims,  or methods  of  commission,  or          otherwise are interrelated  by distinguishing characteristics and          are  not isolated events."  H.J. Inc.,  492 U.S. at 241; see also
                                      _________                    ________          Fleet  Credit Corp., 893 F.2d at 445.  A fact-specific allegation
          ___________________          of  a single common scheme can be used to satisfy the relatedness          requirement.  Feinstein,  942 F.2d at 44.  As  the district court
                        _________          succinctly and  correctly noted,  there is little  doubt in  this          case that the alleged predicate acts are related.                      Appellees  state,  however,   that  the   "relatedness"          requirement is not met as to Treshman and Rescue America,  as the          record  does not  reflect  that they  engaged  in more  than  one          predicate act.  This  bare assertion seems to rest on  the faulty                              
          ____________________          13   As we explained  above, this provision  defines extortion as          "the  obtaining  of  property  from another,  with  his  consent,          induced by wrongful use of actual  or threatened force, violence,          or  fear."  The intangible  right to freely  conduct one's lawful          business  contitutes "property"  for  purposes of  this  section.          Northeast Women's Ctr., 868 F.2d at 1350.
          ______________________                                         -33-



          premise that  each blockade  constitutes only one  predicate act.          Appellees ignore the possibility that more than one predicate act          --  that is,  more  than one  act  that constitutes  extortionate          activity  -- may have been  committed at each blockade, including          the January  8  blockade in  which  Rescue America  and  Treshman          participated.   For  example,  several  instances  of  vandalism,          harassment, and verbal  threats occurred at  the one blockade  at          which  Treshman and Rescue America were present; each instance is          arguably an extortionate, predicate act.                    Furthermore, the physical presence of all the Appellees          in Puerto Rico  is not necessarily  required for  the acts to  be          related, particularly  for the Appellants' conspiracy  claim.  We          have  held that  "a RICO  conspiracy [under    1962(d)]  does not          demand  total fusion or  that all  defendants participate  in all          racketeering acts, know of the entire conspiratorial sweep, or be          acquainted with all other defendants."   United States v. Boylan,
                                                   _____________    _______          et al.,  898 F.2d 230, 242 (1st Cir.), cert. denied, 498 U.S. 849
          ______                                 _____ ______          (1990).  The plaintiff need only show that the component parts of          a conspiracy  were linked together in  such a way as  to afford a          plausible basis for the inference that an agreement existed.  Id.
                                                                        __          A  RICO conspiracy claim under    1962(d) thus  covers direct and          indirect participation in a predicate act, including preparation,          planning,  and  direction.    We therefore  affirm  the  district          court's  ruling   that the  Appellants have established  that the          predicate acts are related.                         b.  Continuity
                         b.  Continuity                                         -34-



                    In order  to establish the continuity  of the predicate          acts, a plaintiff  must show  either 1) that  the acts amount  to          continued criminal activity, in that the related acts extend over          a period  of time;  or 2)  that  the predicate  acts, though  not          continuous,  pose a threat of continued activity.  H.J. Inc., 492
                                                             _________          U.S. at 242;  Fleet Credit Corp., 893 F.2d at  446.  Because RICO
                        __________________          was  intended  by Congress  to  apply only  to  enduring criminal          conduct, predicate acts extending  over a few weeks or  months do          not generally satisfy  this requirement.  Feinstein,  942 F.2d at
                                                    _________          45.  Under the second, "threat" approach, however, even where the          predicate  acts occur in a narrow time frame, the requirement can          still  be satisfied  by  demonstrating "a  realistic prospect  of          continuity over an  open-ended period  yet to come."   Id.   This
                                                                 __          approach  "necessitates  a  showing  that  'the  acts  themselves          include a  specific threat  of repetition  extending indefinitely          into  the future,  [or] .  . .  are part  of an  ongoing entity's          regular way of  doing business.'"   Id. (quoting  H.J. Inc.,  492
                                              __            _________          U.S. at 242).                      Under the first method of establishing continuity,  the          district court found, we think correctly, that the five blockades          over a three-month period did not constitute a  closed-end period          of continued  criminal conduct.   Appellants do  not specifically          contest this finding here.   Rather, they challenge the  district          court's finding  that the  record does  not  reveal "a  realistic          prospect that the  activity challenged in  this suit will  resume          with  enduring effects,"  and that  therefore, no  continuity was                                         -35-



          established.                    Appellants point  out that the predicate  acts involved          in this  case -- the  blockades, vandalism,  and the  threatening          harassment  of clinic personnel and  patients -- are  part of the          regular way that the defendants conduct their ongoing activities.          The  entire purpose  of  Rescue  America,  the  PLRT,  and  their          leaders,  contend the  Appellants, is  preventing  abortions, and          they  do this  by  regularly using  unlawful  as well  as  lawful          tactics.   Appellants further argue,  and the record  shows, that          part of the Appellees' strategy is to strike randomly with little          or  no  warning  of which  clinic  they  will  target, making  it          inherently difficult or impossible  to determine whether and when          they  will blockade  again. There  is also  evidence  that Rescue          America has  been conducting  protests and blockades  for several          years, and shows  no signs  of abating or  changing its  unlawful          tactics.   Indeed,  the March  4, 1994  press release,  quoted in          relevant part  above, strongly indicates that  the Appellees plan          to continue their activities in Puerto Rico, lawful and unlawful.                    Appellees contend  that  there  is  nothing  about  the          challenged conduct  that by its  nature projects into  the future          with a threat of repetition.  The  January 8, 1993 blockade, they          claim,  was  a  "special  gathering,"  an  event unlikely  to  be          repeated.   They point out  that Treshman left  Puerto Rico after          the  blockade and has "no immediate plans  to return."  It is not          the nature of the conduct itself, however, that suggests a threat                                         -36-



          of continuing; it is the fact that the Appellees' regular way  of          conducting their  affairs involves the illegal  acts conducted at          that blockade,  and that the  Appellees have  admitted that  they          plan to "continue their  efforts."  Moreover, Treshman's physical          presence in Puerto Rico is not necessary for Appellees to plan or          threaten  future unlawful  blockade activities in  furtherance of          the  alleged  conspiracy.    We therefore  find  that  sufficient          evidence in the record raises a genuine issue of material fact as          to whether  the Appellees' conduct  posed a threat  of continuing          activity, and  that the  district  court thus  erred in  granting          summary judgment against the Appellants on this basis.                    Accordingly,  we  remand  the Appellants'  RICO  claims          against Appellees  Welch, Treshman, Rescue America,  and the PLRT          only, for further proceedings to determine whether Appellants can          prove the elements of their RICO causes of action.                    B.  The Appellants' Section 1985(3) claims
                    B.  The Appellants' Section 1985(3) claims
                        ______________________________________                    The  Appellants  also  claim  that  Appellees'  actions          violate  the second  clause  of  42 U.S.C.     1985(3).14     The                              
          ____________________          14  Section 1985(3) provides:                      If  two or  more persons  . .  . conspire                      . . .  for  the  purpose   of  depriving,                      either directly or indirectly, any person                      or   class  of   persons  of   the  equal                      protection  of  the  laws,  or  of  equal                      privileges and immunities under the laws;                      or  for  the  purpose  of  preventing  or
                      _________________________________________                      hindering the constituted authorities . .
                      _____________________________________                      . from  giving or securing to all persons
                        _______________________________________                      . . . the equal protection  of the laws .
                      _______________________________________                      . . the party  so injured or deprived may                      have  an  action  for  the   recovery  of                      damages . .  . against one or more of the                                         -37-



          district court granted summary judgment for the Appellees on this          claim, holding that  the Appellants had not  adduced any evidence          that  Appellees' purpose or intent was  to hinder law enforcement          authorities  from   securing  for  women  their   right  to  seek          abortions.   The court reasoned  that because the  purpose of the          Appellees' activities was "to  'stop the killing of babies,'"  or          prevent   abortions,  "and   not   ultimately   to   impede   law          enforcement," the Appellants had not met their burden.                    We think  that the  district court's reasoning  on this          point misses the trees for the forest.  It is akin to saying that          a bank robber lacks mens rea and thus cannot be convicted because          his  ultimate objective was to make money, not to commit robbery.          While it is indisputable that the broader objective behind all of          the  Appellees'  actions  is  the prevention  of  abortions,  the          properly  framed issue  is  whether, in  effectuating that  goal,          Appellees purposefully  employed tactics designed to  prevent the          authorities  from  securing  equal  protection  of  the  laws  to          Appellants.  In  order to  address this issue,  however, we  must          first analyze just what constitutes such a violation; put another          way, we must determine  what a plaintiff must establish  in order          to maintain a claim under   1985(3)'s hindrance clause.                      We  embark  on  this analysis  with  relatively  little          guidance.  Although the Supreme  Court has interpreted the  first                              
          ____________________                      conspirators.          (Emphasis added).  Only the second clause,  called the "hindrance          clause," is relevant to the instant case.                                         -38-



          clause,  called the  "deprivation clause," of    1985(3),  it has          never construed the hindrance clause,  and in fact, has expressly          left this question open.  Bray, 113 S. Ct. at 764-66.  To further
                                    ____          complicate matters,  several Justices  of the Bray  Court offered
                                                        ____          conflicting  views,  in  dicta,  on  the  interpretation  of  the          hindrance  clause.     Nevertheless,   the   Court's      1985(3)          jurisprudence  is instructive  here, and  is therefore  a logical          starting point for our analysis.                    The Supreme Court  has held  that in order  to prove  a          private conspiracy  under the deprivation clause of    1985(3), a
                                        ___________          plaintiff must  show 1)  that some  racial, or  perhaps otherwise          class-based,  invidiously discriminatory  animus  lay behind  the          conspirators' actions,  and 2)  that the  conspiracy is aimed  at          interfering with  rights that  are protected against  private, as          well  as official,  encroachment.15   Bray,  113  S. Ct.  at  758
                                                ____          (citing  Griffin  v.  Breckenridge,  403  U.S.  88,  102  (1971);
                   _______      ____________          Carpenters  v.  Scott,   463  U.S.  825,  833  (1983)).     These
          __________      _____          requirements are necessary  to limit the clause  to its intended,          constitutional purpose and prevent its use as a "general  federal          tort law."  Griffin, 403 U.S. at 102.  
                      _______                    Applying  its  deprivation  clause  precedents  to  the          context of abortion clinic blockades, the Court held in Bray that
                                                                  ____          the  phrase  "otherwise  class-based, invidiously  discriminatory                              
          ____________________          15  Thus far the Supreme Court has recognized two such rights for          deprivation clause  purposes:  the Thirteenth  Amendment right to          be free from  involuntary servitude, and the right  of interstate          travel.  Bray, 113 S. Ct. at 764.
                   ____                                         -39-



          animus" could not apply to "women seeking abortions" because they          were not a protected class.  Bray,  113 S. Ct. at 759.  The Court
                                       ____          further held that the record  of that case did not indicate  that          the protesters were motivated  by a purpose directed at  women in          general, but  rather at stopping abortions.  Id. at 759-60.   The
                                                       __          Court did not specifically rule on whether women in general could          ever  be  a  protected class;  it  did  state  that the  "animus"          requirement  could be  met  not only  by "maliciously  motivated"          discrimination against  women, but by "assertedly  benign (though          objectively invidious)" discrimination as well.  Id. at 759.  The
                                                           __          Court explained that such assertedly benign  discrimination would          demand, however, "at  least a  purpose that focuses  on women  by          reason of their  sex --  for example (to  use an illustration  of          assertedly benign  discrimination), the purpose of 'saving' women          because they  are women  from a combative,  aggressive profession          such  as the practice of law."  Id.   The Court further held that
                                          __          because  abortion was a right protected against official, but not          private, encroachment,  the  Bray plaintiffs  could not  maintain
                                       ____          their  cause  of action  under the  deprivation  clause.   Id. at
                                                                     __          762.16                     The  Bray  majority  (consisting  of  Justices  Scalia,
                         ____          White, Kennedy,  and Thomas and Chief  Justice Rehnquist) refused          to consider any hindrance clause claim, stating that such a claim
                          _________                              
          ____________________          16   The Bray majority  also rejected the  plaintiffs' claim that
                   ____          the  protesters'  activities  deprived  them of  their  right  to          interstate travel, holding that impairment of the protected right          must be "a conscious objective" of the conspirators.  Id. at 762.
                                                                __                                         -40-



          was not properly before the Court.  Id. at 764-65.  In explaining
                                              __          its  refusal to interpret the hindrance clause, however, the Bray
                                                                       ____          majority  stated in  dictum  that a  cause  of action  under  the          hindrance clause  "would seem  to require the  same 'class-based,          invidiously discriminatory animus' that the  'deprivation' clause          requires."  Id. at 765.  The majority reasoned that the source of
                      __          the animus requirement is the statute's language requiring intent          to  deprive  of  "equal  protection"  or  "equal  privileges  and          immunities,"  and that  such  language appears  in the  hindrance          clause as well.  To hold otherwise, the majority explained, would          require  construing the phrase  "equal protection" differently in          two  clauses of the same statute, contrary to basic principles of          statutory construction.   Id. at 765-66 (citing Griffin, 403 U.S.
                                    __                    _______          at 102).  The Bray majority also roundly criticized the dissents'
                        ____          arguments  that the  deprivation clause's  second requirement  --          that the right be protected against private, as well as official,          encroachment  -- would  not  necessarily apply  to the  hindrance          clause as well.  Id. at 766-67. 
                           __                    The four  dissenting Justices responded  that the plain          language of   1985(3) does not require the same restrictions on a          hindrance clause cause of action.  Justice Souter  contended that          neither  restriction would apply to the hindrance clause.  Id. at
                                                                     __          776-77 (Souter,  J., dissenting).  Justices  Stevens and Blackmun          argued that a class-based animus was required under the hindrance          clause,  but that it can be inferred if the conspirators' conduct          burdens activities that are performed exclusively by members of a                                         -41-



          protected  class,  such  as women.    Id.  at  787 (Stevens,  J.,
                                                __          dissenting).    Justice  O'Connor, joined  by  Justice  Blackmun,          contended  that class-based animus is  required.  She  went on to          argue  that women  are a  protected class,  and  that class-based          discrimination is met whenever the motivation of the conspirators          is directly related to the characteristics of that class, such as          the ability to become pregnant or to terminate pregnancy.  Id. at
                                                                     __          801  (O'Connor,  J.,  dissenting).    Further,  Justice  O'Connor          argued,  the   hindrance  clause   does  not  require   that  the          constitutional   right   be   one   protected   against   private          encroachment.  Id. at 803 (O'Connor, J., dissenting).
                         __                    Only one court has  interpreted the requirements of the          hindrance  clause in  the rather  muddy wake  left by  Bray.   In
                                                                 ____          National  Abortions Fed'n v.  Operation Rescue,  8 F.3d  680 (9th
          _________________________     ________________          Cir. 1993),  the Ninth Circuit  examined the varying  opinions of          the Bray justices in light of the language of the statute itself,
              ____          and  decided that the hindrance clause provides a cause of action          only where the purposeful hindering of the police was directed at          a protected  class exercising  a constitutional right.   National
                                                                   ________          Abortions Fed'n, 8 F.3d at 685.  It would be considered "directed
          _______________          at the class"  if the activity is  one exclusively engaged  in by          that class.  Id.  The court therefore held that  "a conspiracy to
                       __          prevent or  hinder state  law enforcement officers  from securing          the  constitutional rights  to  an abortion  for  women, a  class          exclusively seeking  to exercise that right,  is actionable under          the  hindrance clause."    Id. at  687.   Not  surprisingly,  the
                                     __                                         -42-



          Appellants urge  us that  National Abortions Fed'n  is persuasive
                                    ________________________          and  applicable here,  whereas Appellees  contend that  the Ninth          Circuit's   reasoning   is  unsound   and   the   facts  entirely          distinguishable from those at bar.                    Although  we find  the  court's reasoning  in  National
                                                                   ________          Abortions Fed'n helpful, we  cannot follow it blindly.   Instead,
          _______________          we  must  perform  our  own  analysis, guided  by  the  statute's          language and the cases discussed, to determine 1) whether a claim          under the hindrance clause requires some class-based, invidiously          discriminatory  animus; 2) if so, whether women are such a class;          3)  if  so,  whether  Appellants  have  sufficiently  shown  that          Appellees  possess  such animus;  and  4)  whether the  hindrance          clause encompasses  rights protected  against  official, but  not          private, encroachment.                      1.  Does the hindrance clause require "animus"?
                    1.  Does the hindrance clause require "animus"?
                        _________________________________________                    The source of the "animus" requirement for claims under          the  deprivation  clause  is  the statute's  language  "requiring          intent to  deprive of equal  protection, or equal  privileges and
                                _____                 _____          immunities."  Griffin,  403 U.S. at  102 (emphasis in  original).
                        _______          By requiring  such a  class-based animus,  the Griffin  Court was
                                                         _______          attempting  to give full effect to  the statute's purpose without          creating a "general federal tort law."  Id. at 101-102.  In Bray,
                                                  __                  ____          the Court, albeit in dictum, stated clearly that this requirement          should also apply to the hindrance clause, lest the same phrase -          -  "equal  protection" --  be construed  differently in  the same          statute.                                         -43-



                    We  are persuaded  by this  common sense  argument, and          Appellants  have  offered  no  alternative  contentions  for  our          consideration  on  this  issue.17    We  therefore  hold  that  a          plaintiff  under the hindrance clause of   1985(3) must show that          the  alleged  conspiracy  was  motivated  by  some   class-based,          invidiously discriminatory animus.                      2.  Are women a protected class?
                    2.  Are women a protected class?
                        ___________________________                    Although it did not expressly answer this question, the          Bray majority did concede that women may be a protected class for
          ____             1985(3)  purposes, and  based much  of  its reasoning  on this          possibility.  Bray, 113 S. Ct. at 759.  Certainly, nothing in the
                        ____          statute  or its legislative history precludes such a result.  The          legislative history of   1985(3) confirms that even though it was          primarily  motivated by the  mob violence  directed at  the newly          emancipated  slaves in  the Reconstruction  era, "its  protection          extended to 'all  the thirty-eight  millions of  the citizens  of          this nation.'"  Bray, 113 S. Ct. at 785 (Stevens, J., dissenting)
                          ____          (quoting  Cong.  Globe,  42d   Cong.,  1st  Sess.,  484  (1871)).          Moreover,  it is  logical that,  at the  very least,  the classes          protected  by   1985(3) must encompass those classifications that          merit heightened scrutiny under Equal Protection Clause analysis,          of  which  gender  is  one.    See  id.  at  801  (O'Connor,  J.,
                                         ___  __          dissenting).                     Perhaps not surprisingly,  then, several other circuits                              
          ____________________          17  Appellants  merely state that  we "need not" rule  on whether          such  an animus is required, because they have adduced sufficient          evidence that Appellees have demonstrated such animus.                                         -44-



          addressing  this  question have  all  concluded  that women  fall          within the  statute's protection.   See, e.g., National  Org. for
                                              ___  ____  __________________          Women v. Operation Rescue, 914 F.2d 582, 585 (4th Cir. 1990); New
          _____    ________________                                     ___          York State Nat'l Org. for Women v. Terry, 886 F.2d 1339, 1359 (2d
          _______________________________    _____          Cir. 1989), cert. denied, 495 U.S. 947 (1990); Volk v. Coler, 845
                      _____ ______                       ____    _____          F.2d 1422, 1434 (7th Cir. 1988); Novotny v. Great Am. Fed. Sav. &amp;
                                           _______    _____________________          Loan Ass'n, 584 F.2d 1235, 1244 (3d Cir. 1978) (en banc), vacated
          __________          on other grounds, 442 U.S. 366 (1979).                    Accordingly, we  hold that women are  a protected class          falling  within  the  ambit  of  the  protections  afforded  by            1985(3).                     3.   Have  Appellants shown  that Appellees  possess an
                    3.   Have  Appellants shown  that Appellees  possess an
                         __________________________________________________                         invidiously discriminatory animus against women?
                         invidiously discriminatory animus against women?
                         _______________________________________________                    The  Appellants  contend that  they have  adduced ample          evidence that the Appellees  are motivated in their actions  by a          maliciously  motivated animus  against  women in  general.   They          point out  that the protesters  who blockade  the clinics  scream          discriminatory  epithets to  women attempting  to enter,  such as          "lesbians, killers . .  . lesbians can't have babies."   Appellee          Weslin  testified as to  his belief that many  women who are pro-          choice are  "lesbians," "drug  addicts" who "barbecue  babies" in          front  of  the  clinics,  "satan worshippers,"  and  "people  who          surround baby killers."                         Appellants also contend that Welch and Weslin have both          amply  demonstrated   an   assertedly  benign   but   objectively          discriminatory animus towards women.  They point to  testimony of          both  Welch  and  Weslin  that  most  women  are  ignorant  about                                         -45-



          abortion, and that  they believe  they must inform  women of  the          "true" facts about  abortion in  order to "save"  the women  from          being  "victimized"  by  friends,  family  and  society.    Welch          testified  that the women seeking abortions at the clinics are so          "grossly ignorant"  that they are not  "culpable" for "murdering"          their babies,  and that it  is his  job to  "protect" women  from          their own decisions to have abortions.                      Appellees  argue that  these  remarks  are intended  to          "empower"  women, and  that  Appellants  mischaracterize them  in          labelling  them  as paternalistic  and  patronizing.   Appellees'          strenuous  contentions  to  this  effect  are wholly  conclusory,          however, and therefore cannot  serve as the basis for  a judgment          as a matter of law.  The  Appellants have pointed to a great deal          of testimonial evidence that  at the very least raises  a genuine          dispute as to whether the Appellees possess discriminatory animus          towards women, and this issue is material to the outcome of their            1985(3) claim.  We therefore find that the district court erred          in  granting summary  judgment on  these claims,  and remand  for          further  proceedings to  determine  whether Appellees  possess  a          discriminatory animus,  either  overtly malicious  or  assertedly          benign,  against women  in general.   Unless  such animus  can be          established,   Appellants'  hindrance   clause  claims   must  be          dismissed.                    4.   Does  the  hindrance  clause   encompasses  rights
                    4.   Does  the  hindrance  clause   encompasses  rights
                         __________________________________________________                         protected only against official, but  not private,
                         protected only against official, but  not private,
                         __________________________________________________                         encroachment?
                         encroachment?
                         ____________                    Section  1985(3) does  not "'provide[]  any substantive                                         -46-



          rights itself' to  a class conspired  against."  Carpenters,  463
                                                           __________          U.S.  at  833  (quoting Great  Am.  Fed'l  Sav. &amp;  Loan  Ass'n v.
                                  ______________________________________          Novotny,  442 U.S. 366, 372 (1979)).  The rights, privileges, and
          _______          immunities  that    1985(3)  vindicates must  therefore be  found          elsewhere, presumably in the Constitution.   Id.  In  Carpenters,
                                                       __       __________          the Court examined   1985(3) in its entirety and concluded that a          conspiracy  to infringe  First Amendment  rights  (protected only          against  official,  but  not  private, encroachment)  "is  not  a
                                                                     ___          violation  of    1985(3) unless it  is proved  that the  State is
                                   ______          involved in the conspiracy or that  the aim of the conspiracy  is
                                     __          to influence the activity of the State."  Carpenters, 463 U.S. at
                                                    __________          830 (emphasis added).   When the right deprived is one  protected          against only  official encroachment, a plaintiff  must prove that          "the   State  was  somehow   involved  in  or   affected  by  the
                                                     __   ________  __          conspiracy."    Id.  at 833  (emphasis  added).    Claims brought
                          __          specifically under the  deprivation clause of    1985(3) --  that
                                  ___________          is,  alleging  that   a  private  conspiracy  is  aimed   at  the          deprivation of  a constitutional  right -- must  therefore allege
          ___________          that the right infringed is one guaranteed against both  official          and private encroachment.  Id. (emphasis added); Bray, 113 S. Ct.
                                     __                    ____          at  758 (affirming that claims under  the deprivation clause must
                                                    ___________          allege  a  right  protected  against both  private  and  official          encroachment).  When  a  claim  is brought  under  the  hindrance
                                                                  _________          clause -- that is,  alleging a conspiracy to hinder or impede law          enforcement officials from securing  equal protection of the laws          to a  class of citizens   --  the same  constitutional and policy                                         -47-



          concerns  are not  triggered.  The  hindrance clause,  unlike the          deprivation clause, implicates the ability of the State to ensure
                                             _______          and safeguard  rights protected  against any infringement.   When          private  individuals conspire  for  the purpose  of arresting  or          impeding the State's power to protect or  secure equal protection          of  the laws  to  a group  of  citizens, those  conspirators  are          supplanting the State's conduct  with their own.  It  seems clear          to  us that  such a  conspiracy is  precisely the  type that  the          Carpenters Court was referring to  when it discussed a conspiracy
          __________          "to influence the activity  of the State" and thereby  prevent it          from  securing equal  protection  of the  laws  to its  citizens.          Carpenters, 463 U.S. at  830.  When  the State's conduct is  thus
          __________          arrogated,   state  action  is  clearly  implicated,  and  rights          protected   only  against  official   infringement  are  likewise          implicated.                     Moreover, because the hindrance  clause applies only to          conspiracies to  hinder or  impede state officials,  it does  not          raise the same  "specter of federalizing general  tort laws," one          of  the  major  concerns  expressed in  Griffin  and  Carpenters.
                                                  _______       __________          National  Abortions Fed'n, 8 F.3d  at 685.   The hindrance clause
          _________________________          provides a cause of action only where the purposeful hindering of          state  officials was  directed at  denying or  infringing  on the          rights  of a group  of citizens;  it is,  therefore, considerably          narrower  by its own terms than the deprivation clause, and could          not  be used to vindicate ordinary trespasses or torts in federal          court.  See id.
                  ___ __                                         -48-



                    We  therefore  hold  that   claims  brought  under  the          hindrance  clause  of    1985(3) do  not  require that  the right          allegedly   infringed   be   one   guaranteed   against   private          encroachment, but  need only  be one guaranteed  against official          encroachment.                    This  is  not  to say  that  any  action  which delays,          impedes or hinders law  enforcement officials is actionable under          the hindrance  clause.  The  right infringed  as a result  of the          conspiracy must be constitutionally  protected or guaranteed, and          the purpose, not merely the effect, of the conspiracy, must be to
              _______                 ______          impede  state   officials  in  their  efforts   to  secure  equal          protection of the laws.                      Applying these principles  here, we examine  the record          to  determine if  Appellants  have shown  sufficient evidence  to          raise a genuine dispute over whether Appellees intended to hinder          law   enforcement  officials   from  securing   to  women   their          constitutionally protected right to abortion.   Appellees contend          that there is  no evidence  that they intended  to hinder  police          efforts in any way.  The testimony of Appellees Welch and Weslin,          however,  belies this  contention.   Welch  testified that  their          purpose  is  to  close  down  the  clinics  and  thereby  prevent          abortions.   Weslin admitted during his testimony that one of the          reasons that the protesters intentionally go limp  or flail their          limbs when arrested by  the police is to  make it more  difficult          and time-consuming for the police to arrest them, thereby "buying          time" for the unborn.                                         -49-



                    This evidence of the Appellees' statements and tactics,          while not conclusive, is certainly  sufficient to raise a genuine          dispute  as  to  whether  Appellees'  intent  was  to hinder  law          enforcement  officials,   an  issue  of  fact   material  to  the          Appellants' claims.  We therefore hold that  summary judgment was          improperly granted, and remand  these claims to determine whether          Appellees  intended to  hinder  law  enforcement  officials  from          securing to women their right to obtain abortions.18                                   IV.  CONCLUSION
                                   IV.  CONCLUSION                    For the  foregoing reasons, we affirm  in part, dismiss
                                                   _______________  _______          in part, and  reverse and remand for  proceedings consistent with
          _______       ___________________________________________________          the instructions stated in this opinion.
          _______________________________________                              
          ____________________          18   Appellees  also contend  that there  is no  evidence in  the          record  that a  conspiracy exists  among them.   This  contention          simply has no merit.   The evidence indicates that  the blockades          are mobilized on   a large scale, with many individuals acting in          an tightly organized, disciplined fashion.  The overt acts of the          alleged   conspiracy  include:     mobilizing,   organizing,  and          orienting   all   the   blockades'   participants;   transporting          participants   to  the  clinics;   ordering  the  "mangled-fetus"          stickers used to deface clinic property; organizing and preparing          banners and placards used to block clinic entrances; drafting and          distributing  press releases  to recruit  participants; arranging          and  financing  travel  to Puerto  Rico;  and  the delay  tactics          described above.  All of this evidence raises at least  a genuine          issue  as to whether a  conspiracy exists, and  we therefore find          that summary judgment was improperly granted.                                           -50-



